                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                                       No. 3:06-CR-74-2BR

UNITED STATES OF AMERICA,                              )
                                                       )
               v.                                      )              ORDER
                                                       )
                                                       )
RICKY EDWARD GRAVES                                    )


       In light of the upcoming jury trial on 2 April 2007, any proposed voir dire questions and

requests for jury instructions shall be filed on or before 27 March 2007. Requests using Federal

Jury Practice and Instructions (O’Malley, Grenig & Lee) and Horn’s Federal Criminal Jury

Instructions for the Fourth Circuit shall include both the text of the proposed instruction as well as

a citation reference to the proposed instruction. All other requests shall contain citations to

supporting authorities.      All requests for jury instructions shall also be emailed to

documents_judge_britt@nced.uscourts.gov (preferably in wordperfect format).              Before jury

selection begins, all parties shall file a list of all witnesses each party, in good faith, reasonably

anticipates will be called in its evidence-in-chief.

       This 1 March 2007.




                                               __________________________________
                                                     W. Earl Britt
                                                     Senior U.S. District Judge




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